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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

   
  

Northern District of New York

 

 

United States of America )
V. )
Rafael Basilio Martinez Galindo 2 Gaae he -
) j219-MJ-36T (CEH )
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 30, 2019 in the county of Saratoga in the
Northern District of New York , the defendant(s) violated:
Code Section Offense Description
8 U.S.C. 1326(a) Reentry of a Previously Removed Alien, in violation of Title 8, United States

Code, Section 1326(a).

This criminal complaint is based on these facts:

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and
belief: On or about May 30, 2019 in Saratoga County, in the State and Northern District of New York, the defendant,
Rafael Basilio Martinez Galindo, a native and citizen of Mexico, being an alien who has been denied admission,
excluded, deported, or removed, or has departed the United States while an order of exclusion, deportation,

i Continued on the attached sheet. FF

 

Complainant's signature

Deportation Officer Francis Rosania

 

Printed name and title

 

Sworn to before me and signed in my presence. /)
Date: fil/ve G G0/4 J. (b2

Judge's signature

City and state: Albany, New York Hon. Christian F. Hummel, U.S. Magistrate Judge

Printed name and title
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Continuation sheet: United States v. Rafael Basilio Martinez Galindo

or removal is outstanding, entered and was thereafter found in the United States without the
Attorney General of the United States, or his successor, the Secretary of Homeland Security,
having expressly consented to his reapplication for admission into the United States.

In violation of Title 8 United States Code, Section(s) 1326(a).

I further state that I am an ICE Deportation Officer and that this complaint is based on the
following facts:

On May 30, 2019, ICE/ERO encountered Jorge Martinez Galindo in Clifton Park, NY while
conducting an ICE Fugitive Operation. Martinez Galindo was interviewed by ICE officers to
determine identity, alienage and removability. Martinez Galindo stated to ICE Officers that
his name is Rafael Basilio Martinez Galindo and he is unlawfully present in the United
States. Martinez Galindo was subsequently arrested after he was determined to be present in
the United States without admission or parole from an immigration officer. Martinez Galindo
was transported to the ICE office in Latham, NY where he had his fingerprints entered into
the Department of Homeland Security’s IDENT fingerprint database. Through the IDENT
fingerprint comparison, it was determined that Martinez Galindo was an alien previously
removed from the United States to Mexico under alien number XXX XXX 764, with the
most recent removal being on December 27, 2016, at El Paso, TX. A search of relevant
immigration records indicates that Martinez Galindo has not sought nor obtained the express
permission of the Attorney General, or his successor, the Secretary of Homeland Security, to
apply for admission to or return to the United States following the removals.
